Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 1 of 22

Deed - Page 1

BK 19677 Fseéi F456
O2-O7-2ZOAS & 03215p

QUITCLAIM DEED

KNOW ALL MEN BY THESE PRESENTS, That We, DIANE R. WYTRYCH and
JOSIE A, SCIBELLI, of 15 Pinecrest Drive, Springfield, Hampden County,
Massachusetts, for consideration in the amount of One And No/100 ($1.00) Dollar, the
regeipt of which is hereby acknawiedged,

Grant to DIANE R. WYTRYCH, of 15 Pinecrest Drive, Springfield, Massachusetts,
with QuiTcLaim COVENANTS
A cartain parcel of land, with the buildings thereon, situated in the Gity of Springfield,

Hampden County; Massachusetts; more particularly described as: See Exhibit A
attached hereto.

Property Address: 15 Pinecrest Drive, Springfield, Massachusetts.

Being the same premises conveyed to the Grantors herein by deed of Paul A, Albano
and L. Gioscia Albano, dated December 16, 2002, and recorded in the Hampden
County Registry of Deeds in Book 12796, Page 330.

EXECUTED as a sealed instrument this qo day of bhuts LA f , 2013.

Witness Diane R, Wytrych
Marbig L Roms,’ Here Scibtblis
Witness Jédie A. Scibelli

Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

€Z0/0Z0'd 090# 6S:Z0'01 6107/90/80 6O09POE:OL SIPedoyyC puejbuy men: WOH
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 2 of 22

Beed - Page 2

Bk 19677 Pg62 #8456

COMMONWEALTH OF MASSACHUSETTS

HAMPDEN, ss.

On this _7 te day a 2013, before me, the undersigned notary
public, personally appeared Diane JA7Wytrych and Josie A. Scibelli, and proved to me
through satisfactory evidence of identification, which was a __ driver's license or other
state or federal governmental document bearing a photographic image, __ oath or
affirmation of a credible witness known to me who knows the above signatory, or __
my Own personal knowledge of the identity of the signatory, to be the person whose
name is signed on the preceding or attached document, and acknowledged to me that

they signed it voluntarily for its stated purpose.

vue
x

ANNE MARIE RHODES ,
@ NOTARY PUBLIC i 9»

 

COMMONWEALTH DE
My Conwniesion fxpieea Jan. 8, 2007

 

 

 

Form SGNLGL - “TOTAL” appraisal software by a ta mode, Inc. - 1-B00-ALAMODE

€70/ 1ZO'd O90# €€°:€0:01 6107/90/80 GOO9POE:OL S9Ipedoyug puejbuy MeN: WOU
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 3 of 22

Deed - Page 3

Bk 19677 Pg63 #6456

EXHIBIT "A"

All that certain parcel of land situated in Springfield, Hampden County,
Massachusetts, with the buildings thereon, baing known and designated as Lot #16 on
a plan entitled “Plan of Land-Pinecrest Drive, Sumner Avenue, Overland Avenue,
Garford & Hudson Streat, Springfield, Mass., Owned by Berard & Sone, Inc,, said plan
being recorded with the Hampden County Registry of Deeds in Baok of Plans 250,
Page 1.

Subject toa Restrictive Cavenants dated October 29, 1987 and recorded In the Hampden
County Registry of Deads in Book 6671, Page 49.

Subject to amended Order of Conditions of the City of Springfield dated November 6,
1987, and recorded in tha Hampden County Registry of Deeds in Book 6697, Page
129,

Subject ta storm water dralnage easement to the City of Springfield dated March 3,
1888 and recorded in the Hampden County Registry af Deeds in Book 6800, Page 91.

Subject to reserved draining rights dated ‘duly 34, 1957 and feared in the Hampden
County Ragistry of Deeds. in Book 2558, Page 528,

Subject to pole and line rights granted American Telephone and Telegraph Company
dated October 5, 1949, and recorded in the Hampden Couirity Registry of Deeds in
Book 2015, Page 63.

No title examination was performed in preparation of this Deed.

DONALD E. 4
HAMPDEN eh COUNTY Re a

Form SCNLGL - "TOTAL" appraisal software by a ta mode, inc. ~ 1-800-ALAMODE

€Z0/CC0'd 090# Z0'70:01 610Z/90/80 GOO9POE:OL SoIpedoyyo puejbuyZ MeN: WOHs
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 4 of 22

License

Lavi Wi VV ALT fF
DIVISION GE PRO
REAL @STATE APPRAISERS
IGSUER THE FOLLOWING LICENGE CHAT
REO, REAL ZOTATE APPRAISER

    
 

  
 

   

\

Form SCNLGL - "TOTAL" anpraiea sottwarn by a la moda, ine, ~ 1-BO0-ALAMODE

€Z0/€Z0'd O90# 6E-70:01 6107/90/80 G009P0E'OL SoIpedoyyo puejbuy men: WOH
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 5 of 22
AJS Appraisal Group, tne

 

 

  
 

 

 

 

 

Foi INVOICE
Tony Santaniallo 7 7 =
rivormaad OS
137 Allen St : -
East Longmeadow, MA 01024-1446 _—
| + | teveton Dates 07/16/2019
Telephone Number: (4:13) 474-3951 Fax Number: (413) 525-4149 Dus Date: 07/49/2019
To: Internal Order &: 19-219
Luso Federal Gradit Union Lender Cea #:
599 East Street Glatt Filo
Ludlow, MA 01058 FHAWVA Gaon #:
iain Fite # on form: 19-219
. ‘Other File # on tore:
E-Mal: pgreina@lusofederal.com : a : iM
Telephone Humber: (413) 689-0966 Fax Number: _| Federal. Te ft: XX-XXXXXXX
Adtamate Humber: Employer (0:

 

 

 

 

 

 

Lender: = Luso Federal Credit Union Cient: ~~ Luso Federal Credil Union
Purchaser/Bormwer: = Diana R. Wytrych
Property Address: = 15 Pinecrest Or
Chy: == Springfield
County: =Wampdan Stet: = =MA Zip 01118
Legal eseription: = Book:10677 Page:61 Dated:02/07/2013 Hampden County Registry of Deeds

 

2055 UAD Exterior Only 250.00
SUBTOTAL . 250.00
Check #: Date: Description: ;
Cheek #: Date: Deactiption:
Check #: Dale: Oescrtption:
SUBTOTAL | 0

 

 

 

 

Form NIVSD - “TOTAL” appraisal software by a la mode, inc. - 1-800-ALAMODE

€Z0/00'd O90# E 1:87:60 6102/90/80 GO09P0E‘O.L S9IPedoyug puejbuy men:WiOUd
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 6 of 22

APPRAISAL OF REAL PROPERTY

i i

ee ee

LOCATED AT '
415 Pinecrest Dr
Springfield, MA 01118
Book:19877 Page;61 Dated:02/07/2013 Hampden County Registry of Deeds

FOR
Luso Federal Credit Union
590 Esat Street. Ludlow. MA 01056

OPINION OF VALUE
208,000

AS OF
07/18/2019

BY
Anthony J. Santaniefo
AJS Appralsal Group, Inc.
137 Allen Street
Eaat Longmeadow, MA 01028
413-374-3351
teant?7@igmail.com

 

Foi GAZV - “TOTAL" appraisal software by ata mode, nc. - 1-B00-ALAMODE

€Z0/S00'd 090# 02:67:60 6107/90/80 6O09P0E-OL S2!PedoyugC pue|buy men:WOHs
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 7 of 22

 

forawer Diane R. Wytrych : fleNO w-219
Proporly Address vecrestDr —_ —_ — a
Gly Springfield Get Hsien peter __ "Sita h MAL ip bode 1118

LendevCllent __ Luso Federal Credit Union.

 

 

 

APPRAISAL AND REPORT IDENTIFICATION

 

This Report is ane of the following types:

 

BRD AMT apa — TOT eT ATED urides Slandads Rule  9-9(a) , pursuant to Wie Scape of Work, as disclased elsewhere in this report.)

rd Restricted {A weitten report prepared under Standards Flute - 2. -2(b) » Pursuant to the Scope of Work, as disclosed algawhere in this repar,
Agpralsal Report —reslricted to the stated Intended use by tha specified cliant or Intended user.)

 

 

Comments on Standards Rule 2-3

| certify that, to the best of my knowledge and belied:

- The statements of fact contained in this report are true and correct,

~ The reported analyses, opinions, and conclusions are limited only by the reporied assumplions and faniting conditions and are my personal, impartial, and unbiased protessional
analyses, opinions, and conclusions.

-Uniege othenvice indicated, | have ne present or prospective interest ln the property (hat is the subject af this report and no perscmal interes! with respect to the parttas involved
~ Uness otherwise indigated. | have performed no services, as an appraiser or in any other capacity, regarding the properly that is the subject of this report within the three-year
period immediately preceding acceptance of this assignment,

= | have. no-bias with respect to the property that is the subject of this tegort or the parties Involved wih this assignment,

~My engapement In this assignment was Aol Contingent upon developing or reporting predaterminad results. .

+ My compensation for competing tis assignment Js nat contingent upon the development or reporting of a predetermined vatue or direction in value that favors tte cause of the
clent, the amount of the value opinion, the attainment of a stipulated result, or tha otcurrence of a subsaquenl evant directly related to tha intended use of this appraisal.

+ My analyses, opinions, and conclusions were developed, and this repon has been prepared, in conformity with the Uniform Standards of Profgssional Appraisal Practice that
ware II affect al the time lhis report was prenared. /
~ Unless otharwise indicatad, | have made a persanat inspection of the praperty that is the Subject of this report.
~ Uniess otherwise indicated, no ona provided significant real property appraisal assistance to the person(s) signing tris certification (if lhere are exceptions, the name of each
individual providing significamt real property appraisal assistance is stated elsewhere in this report)

 

 

Comments on Appraisal and Report identitication
Note any USPAP related issues requiring disclosure and any State mandated requirements:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SUPERVISORY or CO-APPRAISER (if applicable):

APPRAISER: hit /
df,

 

 

 

 

 

f? i ieee er ii SS ee
Ne anthoteed antaristed” Mame
137 Allen Street, East Longmeadow, MA01028 MA01028 /
State Certiication#: MA CRREA #75564 State Certification #:
or State License #: or Stale License #: ee
State: MA Expiration Dale of Cecification or License: 08/20/2020 State: Expiration Dale af Certiicadion or License: —
Gale of Signature and Report: «07/15/2019 a Date of Signature: —
Effective Date of Appraisal: = 07/15/2019
Inspection of Subject © [" ] None 5) Interior and Exterio Fi Exterior Onty Inspaction of Subject «= (] None [7] Interior and Exterior = {| Exterior-Onty

Date of inspection (# applicatve): 07/16/2019. Date of inspection (ff apaliceba).

 

 

 

 

Form 174 - “TOTAL* appraisal software by a fa mode, inc. - 1-800-ALAMODE

€Z0/900'd O90# 9Z: LE‘60 6107/90/80 GOO9P0E-O1 SoIpedoyC pue|buy MeN: WOH
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 8 of 22
AJS Appraisal Group, Ine,

Residential 19.219

 

Other (desaribe) Home

In the tealve to

I id id not analyen tha contract for sale ‘subject purchase transaction, results. of tho analysis of (he contract for sale or why tho unalyois was nol

ol ls
bs there any financial assistance (loan charges, sale concessions, gi or downpayment assistance, etc.) to bp pakt by any party on of the borrower?
it Yes, repart the total Caliar amicimt and describe th be

 

 

any apparent physical deficiencies or adverse condons that alfect the livability. soundnwss, or such ral integrity af the property?

Fraddte Mac Form 2055 March 2005 UAD Version 9/2011 Page 1 of 6 Fannie Mae Form 2055 March 2005

Form 2055UAD - "TOTAL" appraisal sottwara by 8 la moda, inc, - 1-800-ALAMDDE

€Z0/L00'd O90# LE:ZE60 6107/90/80 GO09P0E‘O.L S9IPedoyUuoO pue/buy MeN: WOUS
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 9 of 22

Residential

lor sale in (he subject neighborhood ranging in price tram § {80,000
a Meee GT ie.

Theta
ay

5 _-coinparable properties cuwently

15 Pinecrest Or 141 Pinacrest Dr

Subject

Area

Sole

ADJUSTMENTS
or Financing

DESCRIPTION

ofSaleTime

Leasehald/Fee
Site
View
(Style)
Quatty of Construction
Age,
vi ae
Roum Court

Totai_ |Bdrms, | Baths | Total | Bdims, | Baths
6

+{),$ Adjustrent |_|

File# 19-
_t§ 224,000.

#

11 Derryfieid Ave 88 Intervale Rd

3 Adjuster

14331 of

ca

Total [earn | Baths folal |Bdems.| Baths |

6 1.8

Area fl

RFinished 1269sfS46stwo |1265sf0sfin
Below Grade

——1,831_sgh
1434 sf800sfwu

FWA/CAir HWAB/No HWBB/CAir

Efficient tems

Fireplaces...

+ a
49%
%

 

 

Gi oc eva! ay prio ss or angers of the subjec propa for he tea years por othe actve data of hs appa.

thd nt ror 10 the date of sale of the comparebie Sale.

 

sales On
COMPARABLE SALE #2

research and and

TEM COMPARABLE SALE #1

at Sale/Transtar

ve Date of Dala
ol prlor sale

‘The subjact has not transfered in the past 36 months.
was then Updated throughout. No other sales for the comparables in the past 12 months _

 

 

Comps 2 and 3 were adjusted for their varying conditions 2

The best available sales were utilized in

sellers. Full
ihe same streelas the subiect
ea) “mis, lo complation per plans and specifications on the bisis of a hypothetical condiion thal the impmverunts have been
C1 sie o oe of alterations on he basis of a hypothetical condition that the jupaics dr alterations have been completed, or [| subiect to the
_lnapection un tracrdinary pth

at scope
and as defined, of property that

areas
certification, my (our)

af

 

Freddie Mac Form 2055 March 2005 UAD Version 9/2011 = Paga 2 of 6 Fannie Mae Form 2055 March 2005

Form 2055VAD - “TOTAL® appraisal sottware by a la mode, inc, - 1-800-ALAMODE

€Z0/800'd O90# 1Z:VE:60 610Z/90/80 6009P0E:OL S9IPedoyUoO puejbuy MeN: WOU
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 10 of 22

Residential

 

 

 

 

 

 

 

 

 

 

 

 

 

Fraddia Mac Form 2055 March 2006 UAD Version 9/2011 Page 3of6

Fannie Mas Form 2056 March 2005

Form 2055UAQ - “TOTAL” appraisal sottware by a bi mode, ttc. - 1-800-ALAMODE

€Z0/600'd O090# EZ:9E:60 6107/90/80 GOO9POE:OL S9!pedoyugo pue|buy mey:WwOus
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 11 of 22

 

 

 

 

Supplemental Addendum File No. 19-219
Borrower Diane R. Wytrych — o/s Fe
Propeny Adtiess 15 Pinecrest Dr__ . 7 _ : _
jGiy  Sprinnfield County Hampden Sat MA Zig Code 01118
LendeChent _ Luso Federal Credit Union

 

 

¢ Exterlor-Only; Nelahborhood - Deacription

— ——Thereaneny unleviable faclors-atiecting marketability. The jubjcot is iaonted on o quict atreotin the Caot Foroat Park soation
of Springfield. The subject's nelghborheod consists of small to large sized homes of various styles, predominantty single family
properties in @ 0-125 year age range. The subject provides goad access to major amenities in the area such as schools, houses
of worship, and shopping facilities. Sumner Avenue and Plumtrea Road offer commuters access to various employment centers
in the region. The subject conforms well to properties in the area. Generally, properties in the area appear to be in average to
goou conalion. Geapicymentappears to be stable in the araa. Neighborhood appeal to market is rated average/qnod.

* Exterlor-Only: Neighborhood - Market Conditions

Land record data, MLS statistics as wall as the sale/resale of propetiles in the neighborhood appear to support a year over year
increase of 4% In market values. MLS deta also Indicates thera is a shortage of inventory; the average marketing time has
remained fairly stable from the previous 12 months and currently averages less than 90 days, with same exceptions (see page
3). {0 tha appraiser's apinion, he estimates exposure time and marketing tlme to be similar In days. Lending Institutions are
active in the area. There is evidence of financing concessions, which have little to no effect on market values, Conventional,
FHA, and VA loans are predominant. ,

   

Appraiser Comments:

The Intended user of this appralsal report is the lander/client. The intended usa is to evaluate the property that Is the subject of
this appralsal for a mortgage lending transaction, subject to the stated scope of work, purpose of the appraisal, reporting
requirements of the appraisal report form, and definition of market value, No additional intended users are Identiflad by the
appralgser. .

The year 2019 lown assessed value Is $204,100 based on a currant tax rate of $19.68 per thousand.

Room counts, bedraam counts and bathroom counts were taken from MLS listings. Public racords oflen has incorrect data in
this area, therefore, the lisiing data ls more reliable, .

Groas living areas were obtained from the town field carde, Pubils records will occasionally Include finished basements in the
GLA. The GLA’s used in this report are correct for the subject and all comparables.

Due to the fack of comparable sales, the appraiser was unable to bracket the subject's age and GLA, This does not adversely
affect marketabllity or the appralser's opinion of value.

The pradominant range falls below the appraiser's opinion of value In the neighborhood. However, it Is within the range of typical
neighborhood values, This does not affect marketability and the subject is not an over-improvement.

Expasure Time: Lass than 90 days. The exposure time is the estimated length of time that the property interest being appraised
would have been offered on the market prior to the hypothetical consummation of a sale at market value on the effective date of
the appraisal.

Comps 1 and 2 exceeded the 30% +/- age variance and were used due te the lack of similar sales.

The appraiser assumes that the property's tile is good and marketable, and will render no opinions aboul (ha qualily of the litle.
The appraiser also assumes there are na hidden or unapparent condilions of the sail or subsoil that would render it more or less
valuable,

Lot size and location adjustments are based on analyzing historical saias data and applying differencas in sales price to the
various lol sizes and locations in the perspective town. These adjustments are not always apptied in a finear format
(Quantitative) as the market doss not necessarily react in that manner, but may be applied based on the appralser's experiance
and knowledge of the market (Qualitative).

Highest and best use is defined as: "That reasonable and probable use that will support the highest present value, as defined,
as of the effective date of the appraisal. Alternatively, that use, from among reasonably probable and legal alternative uses,
found to be physically possible, appropriately supported, financially feasible, and which results In highest land value.”

The definition above applies significantly to the highest and bast use of the land, It is to be recognized that In cases where a
site has existing Improvements on It, the highest and best use may very well be determined to be differant fram the existing use.
The existing use will continue, however, unless and unlil land value in its highest and best use excaeds the total value of the
property in its existing use. After analyzing the neighborhood, the highest and best use of this property is its current use.

Scope of Work:

The appralser uses data acquired from town property records, MLS listing information, Realtor comments, public records, deeds
and other recorded legal documents, along with a personal inspection of the subject property, appraisal files, building cost
guides, and owner or builder comments if applicable. A fleld inspection of the subject is performed, notes of the subjact are
made at tha tima of the inspection, photos of the interior and exterior are takan, all comparables are inspected from the street
and photographed (where possible), and a visit to the town hail is made (if needed). The appraiser reconciles this data,
considers all (our tasts of Highest & Best Use, considers all three approaches to value (Sales, Income, and Cost), chooses the
best comparable sales. The appraiser then enters all of the information on the report form and attaches photos, maps,
document copies, and any other specific Information requested by the lender/client. This reconciliation and reporting process
results in the derivation of a market value as defined above,

efinition of t Yalue*;

—Marhet valuemeans thamort probable pice whisk apropedy shauld bias in a compatitive and aspen market ender oll
conditions requisite (o a fair gale, the buyer and seller each acting prudantly and knowtedgeably, and assuming lha price is not
affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title
trom seller to buyer under conditions whereby:

1. Buyer and goller ara typically motivated:

2. Both parties are well informed or well advised and acling in what they consider their own best intarests;

3. A raasonabla time is allawed for expasure in the open market;

4. Payment ts made in terms of cash In U.S. dollars or in terms of financial arrangements comparable thereto: and

5. The price represents the normal consideration for the property sold unalfected by special or creative financing or sales
concessions granted by anyone associated with tha sale,

” This definition is from regulations published by federal regulatory agancias pursuant to Title X! of the Financial Institutions

Form TADD - "TOTAL" appraisal software hy a la mode, inc. - 1-800-ALAMODE

€T0/0L0'd O90# €S:LE:60 GLOZ/90/80 GOO9P0E:O1 SO!IpedoyuoO puejbuy Men: WOHus
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 12 of 22

____Diane R. Wytryoh

Springfield tty’ Hampton

 

Reform, Recovery, and Enforcement Act (FIRREA) of 1989 between July 5, 1890, and August 24, 1980, by the Federal Reasrve
System (FRS), National Gredit Uhion Administration (NCUA), Federal Deposit Insurance Corporation (FDIC), the Office of Thrift
Supervision (OTS), and tha Office of Comptroller af the Currency (OCG). This dafinition is also referenced in regulations jointly
published by tha OCC, OTS, FRS, and FDIG on June 7, 1994, and in the Interagency Appraisal and Evaluation Guidelines,
dated October 27, 1994.

The appraiser Is not a building inspector, contractor, engineer, plumber or an electrician and has no expertiee in these flelds.
The appraiser conducted only a visual inspection of the accessible areas, and makes no guarantees about the structural
integrity of the property, or about the efficiency or condition of the plumbing, heating and cooling systems, and assumes no
adverse conditiona, An axpert should ba consulted and further Inspection conducted if there are any concerns about structural
intagrity of the property, or about tha condition of the plumbing, heating or cooling systams.,

Unless otherwise specifically described and/or a client condition to be stated in this report, the presence of hazardous materials
or anvironmental conditions, which may or may not be present on the subject property, was not observad by the appraiser,
However, It should be noted that the appraiser has not been trained, nor Is qualified to detect specific hazardous substances or
conditions. The presence of adverse materials or naturally occurring substances such as mold/mildaw, asbestos, certain types
of insulation, lead paint, and/or any other unseen or existing hazardovs materials may affact the value of this property, This
value opinion is predicated on the assumption that there is either no such material(s) on or nearby Ihe property, or the client is
aware thal such hazardous materials may exist. No responsibility ls assumed for such conditions or for any expertise or
engineering knowledge raquired.to discover them. Houses bullt prior to 1978, may In fact contain lead based paint and may
require a certified contractor for removal or special containment. It ls racommendad the cliant retain an expart to fully evaluate
any environmental Goncarns.

The photographs submitted with this appraisal are original digital Images, These digital Images have nol bean altered or
modified In any shape or form as to mislead (he lender, These digital lImagos were either: photographed by the appralser al the
time of the inspection of the property; or retrieved from the appraiser's digital files based upon previous appraisal sssignments;
of, when available and applicable, were obtained online from MLS to better show how a comparable property appeared al the
time of sale. The appralser has reserved the right to use MLS photos if necessary. Reasons for such Use would Include, and Is
not limited to, comps which are not visible from the public street, compa In which unknowing individuals would be present in the

"PTGS, CONS WIT Sandy OF BEESON CONONONS BUEN As Snow ano eer wren STATI ACCASS OF diler the visibility at the home,
or comps which the appralsar suspects have been altered in some way after the sale in a manner which might affect the overall
value since the purchase. The appraiser has performed at a minimum a drive-by inspection of the comps. Often times
applicable MLS photos offer Ihe most accurate description of a home at the time of sate, and use of these photos frequently add
to the overall credibility of the report.

 

Form TAQD - “TOTAL” appraisal software by ala mode, inc. - 1-800-ALAMODE

€Z0/ 1 LO'd O90# O1:6E:60 610Z/90/80 GOO9POE:O1L S9!PedoyuoC puejbuy Men: WOud
 

Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 13 of 22

Exterior-Only Inspection Residential Appraisal Report — ra. # 19.219

 

This report tovm is destgnad to report an appraisal of a one-unit property or a one-unit property with an. accessory unit;
including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
Manulactured home or a unit in a condaminium or cooperative project.

(MiSs Appraisal Feport 16 SUBject to we torowing scape of work, imendud use, intended wser, definitivn ul iaikel yulue,
statement of assumptions and limiting conditions, and certiicatons. Modifications, additions, or deletions to tha Intended
use, intendad user. definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
expand the scope of work to include any additional rasearch or analysis necessafy basad on the complexity of this appraisal
assignment. Moditications or deletions to the certitications are also not permitted. However, additional certifications that do
Not constitute material alterations_tq this appraisal report, such as those required by law or those related to the appraiser's
continuing education or membership in an appraisal organizatlon, ave permited.

SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
reporting requirements: of this appraisal raport form, including (he following definitlon of market value, statement of
assumptions and limiting conditions, and cartifications, The appraiser must, at a minimum: (1) padorm a visual inspection of
the exterior areas of the subject property from at least the street, (2). inspect the neighborhood, (3) inspect.each of the
comparable sales fiom at least the straet, (4) research, verify, and analyze data from ‘reliable public and/or private sources,
and (5) report his or her analysis, opinions, anc conclusions in this appraisal report.

The appraiser must be able to obtain adequate information about the physical characteristics (including, but not ilmited to,
condition, room count, gross living area, etc.) of tha subject praperty from the exterlor-oniy inspection and reliable public
and/or private sources to perform this appraisal. The appraiser should usa the same type of data sources that he or she uses
for comparabla salas such as, but not limited to, multiple listing services, tax. and assessment records, prior inspections,
Appraisal files, intormation provided oy the praperty owner, etc. :

INTENDED USE: the intended use of this appraisal report is for the Jender/ciient to evaluate the property that is the
subject of this appraisal tor a mortgage finance transaction.

INTENDED USER: The intended user of this appraisal report is the tender/client.

DEFINITION OF MARKET VALUE: The most probable price which a properly should bring In a compatitive and open
Matket under all conditions requisite to a falr sale, the puyer and seller, each acting prudently, knowledgsably and assuming
fhe price is not affected by undue stimulus. Implicit in this detinition is the consummation of a sale as of a specified date and
the passing of tite from seller t> Guyer under conditions whereby: (1) buyer and seller-are typically motivated; (2) both parties
are well informed or well advised, and each acting in what ha or sha considers his or her own best Interest, (3) a reasonabie
time is allowed for exposure in the open market; (4) payment is made in ferms of cash in U. S. dollars or in terms of financial
arrangements comparabla thereto; and (5) the price rapresents the normal consideration for the property sald unaffacted by
spacial or creative financing or sales concasgions* granted by anyone associated with the sale,

“Adjustments to the compalables must ba made for special or creative financing of sales concessions, No adjustments are
necessary for those costs which are normally pald by sellers as a result of tradition or jaw in a market area; these costs are
readily identifiable since the saller pays thase costs in virtually all sales transactions. Special or creative financing
adjustments can be made to ihe comparable property by comparisans to financing terms offerad by a third party institutlonal
lander that Is not already involved In the property or transaction. Any adjustmant should not be calculated on a mechanical
daliar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
reaction. to the. financing or soncesslons based on tha appraiser's judgment.

STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is sudject
to the following assumptions and limiting conditions:

1. The appraiser will not be responsible for matters of a legal nature that affect either the property belng appraised or the title
fo It, except for information that he or she became aware of during the research involved in performing this appraisal. The
appraiser assumes that the title is good and marketable and will not render any opinions about the tite.

2. The appraiser has examined the avaliable tlood maps that are provided by the Federal Emergency Management Agency
(or other data sources) and has noted in thls appraisal report whether any postion of the subject site is located in an
identified Special Flood Hazard Area. Because the appraiser Is not a surveyor, he or she makes no guarantees, express or
implied, regarding this determination,

3. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property In question,
unless $pacttic arrangements to do so have been mada beforehand, or as otharwise required by law.

4. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
presence of hazardous wastes, toxic substances, atc.) observed during the inspection of the subject property or that he or
sha became aware of during the research Involved in pertorming this appraisal. Uniess otherwise stated in this appraisal
report, the appraiser has no knowledge of any hidden or unappatent physical deticianctas or adverse conditions of the
property (such as, but nat fimHed to, neered repairs, deterioration, the presence of hazardous wastes, toxic substances,
adverse environmental conditions, etc.) that would make the property jess valuable, and has assumed that thera ara no such
conditions and makes no guarantees or warranties, express ar implied. The appraiser will not be responsible fer any such
condittons that do exist or for any engineering or testing that might be requirad to discover whether such conditions exist,
Recause the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
an environmental assessment of the property.

5. The appraiser has based his or her appratsal report and valuation conclusion for an appralsdl that is subject to satisfactory
completion, repairs, or alterations on the assumption that the completion, repairs, ar alterations of the subject property will be
performed in a protessional manner.

 

 

Freddie Mac Form 2055 March 2005 UAD Version 9/2011 Page 4 af 6 Fannie Mae Form 2055 March 2005

Form 2055UAD - TOTAL" appraisal software by a la mods, inc. ~ 1-800-ALAMODE

€Z0/ZLO'd O90# Z0:0P:60 6107/90/80 6O09POE'O.L SoIPedoyug puejbuq meN:IWIOH
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 14 of 22

Exterior-Only Inspection Residential Appraisal Report ree 19-219

APPRAISER'S CEATIFICATION: The Appraiser certifies and agraes that:

1. 1 have, at a minimum, developed and reported this appraisal in accordance with the scape of work requirements stated In
this appralsal report.

 

2. | performed a visual inspection of the exterior areas of the subjact property from at least the street, | raportad tha condition
of tha Improvernents In factual, specific terms. | identified and reported the physical daticlencies that could affect the INvabillty,
soundness, or structural integrity of the property.

3. | performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
Practica that were adopted and promulgated by the Appraisal Standards Soard of The Appraisal Foundation and that were in
face at the tima this appraisal report was prepared.

4. | developed my opinion of the market value of the real property that is the subject of this report baged on the saiss
comparison approach to value, | have adequate comparable market data to develop a raltable gales comparison approach
—tor this appralsal assignment. 1 jurther certlfy that | coneidered the cost and income appreachas %é value but did not develop
them, uniess otherwise indicatad in this. raport.

5 | researched, verified, analyzed, and reported on any current agreemant for sale for the sublect property, any offering for
sala of the subject properly In the twelve’ months prior to the effective date of this appraisal, and the prior sales of tha subject
property for a minimum of thrae years prior to the effective date of this appraisal, unlegs otherwise indicated fi this report,

6. { researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
to the date of sale of the comparable sale, unless otherwise indicated In this report.

7. | selected and used comparable salas that ara locattonally, physically, and functionally the most sitar to the subject property.
wv

5. | have not used compatable galas that were the result of combining a land sale with tha contract purchase price of a home that
has bean bullt or will be bullt on the land,

9. | have reported adjustments to the comparable galas that retlect the market's reaction to the differences between the subject
property and tha comparable sates,

10. | verified, from a disinterested source, all information in this report that was provided by parties who have a financlal interast in
the sale or financing of the sublect property.

14. | have knowledge and axparience in appraising this type of property in this market area.

12. | am aware of, and have access to, tha necessary and appropriate public and private data sources, such as multiple listing =,
services, tax assessment records, public land records and other such data sources for the area in which the property is located.

13, | obtained the information, estimates, and opinions tumished by other partias and expressed in this appralsal report from
tellabie sauces that | belleve to oe tue and correct.

14. | have taken into consideration the factors that have an impact on value with tespect to the subject neighborhood, subject
property, and tha proximity of the subject property to adverse Influgncas i the development of my oplnion of market value. |
have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deteroration, the
presence of hazardous wastes, toxic substancds, adverse environmental conditions, atc.) obgerved during the inspection of the
subject property or that i became awara of during the research involved in performing this appraisal. | hava considered these
adverse conditions In my anatysis of tha property value, and have reported on the effect ef the conditions on the valua and
marketabltity of the subject property. .

15. | have not knowingly withheld any significant information from this’ appraisal raport and, to the best of my knowledge, all
statements and Information In this appralsal report are true and corect -

16. (| stated in this appraisal report my own personal, unblasad, and professional analysis, opinions, and conclusions, which
are subject only to the assumptions and limiting conditions in this appraisal report.

17, | have no present or prospective interest in the property that is the Subject of this report, and | hava no present or

Prospective personal interest or bias with respect to the participarts in the transaction, | did not basa, either partially or
completely, my analysis and/or opinion of market value in thls appraisal report on the race, color, religion, sex, age, marital
Status, handicap, familial status, or national origin of elther the prospective owners or occupants of the subject property or of the
resent owners or occupants of the properties in the vicinity of the subject property or on any sther basis prohibited by law.

18. My employment and/or compensation tor performing this appraisal or any future or anticipated appralsals was mot
conditionsd on any agreement or understanding, written or otherwise, that | would report (or present analysis supporting) a
predetermined specific value, a predetermined minimum value, a range or direction in value, a value that tavors the causa of

| any party, or the attainment ofa speoitic result or ose want Avant (sinh ag approval of a pandiag
TMiortgage loan application).

19. | personally prepared all conclusions and opinions about the teal estate that ware sat forth in this appraisal report. If |
relisd on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
or the preparation of this appraisal report, | have namad such individual(s) and disclosed the specific tasks performed in this
appraisal report. | certify that any Individual so named is qualified to perform the tasks. | have not authorized anyone to make
a enange ni any a" In this appraisat report, therefor, any change made to this appraisal is unauthorized and | will take no
rapponsi for it.

 

 

 

Freddis Mac Form 2055 March 2005 UAD Version 9/2011 = Paga 5 of B Fannie Maa Form 2085 March 2005

Form 2065UAD - ‘TOTAL’ appraisal software by a la made, Ino. - 1-800-ALAMODE

€Z0/€L0'd O90# £1160 6L0Z/90/80 GO09P0E:01 S9IpedoyUugO puejbuq Men:WOuS
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 15 of 22

Exterior-Only Inspection Residential Appraisal Report — swe 19-219

 

20. | identified the lendar/cliant in thls appraisal report who Is the individual, organization, or agent for the organization that
ordered and will receive this appralsal report.

21. Tha lendas/citant may disclose or distribute this appraisal report to: tha borrower, another lender at the request of the
borrower, the morigagee or its successors and assigns; mortgage. insurers; government sponsored enterprises; athar
secondary murket -participants;. data.” collection — or reporting servicas; professional ‘appraisal organizations; - any department,
agency, or instrumentality ot tha United ‘States; and aly state, the: District of Columbia, or other jurisdictions; without, having to
obtain the appraiser's or supervisory appralser's...(¢ “applicable) consent. Such consent - must be obtained before this appraisal
report may ba disclosed ar distrbutad to- any other party (including, but not iimited ‘to, the: “public , ‘through advertising, public
relations, news, salas, or other media). - .

 

     

22. | am aware’. that any disclosure or ‘distiibutton of this appraisal report by me or é  lender/élient may ‘hea subject to certain
laws .and- regulations," Further, 1 am’ atse subject to the ee ot the eT : Standards of Professidnal Appraisal Practice
that pertain to’ disclosure ‘or ‘istribiution by me: fo.

23. The borrower, another lander al the request ‘of the: borrower, the mortgages . or ts sugcassors “and ‘assigns, martgage, :
insurers, government. spahsored. enterprises, and. other secondary market participants © may’ ra on. ‘bls : appraisal report ‘as part
of any mortgage finance transaction: that involves any dne or mor oft these parties. :

24. If this appraisal. report was transnilttid as an “electronic “record” conitaining my.’ salectionic.. " signature,” as , jose, terms are
defined in, applicable federal and/or stata laws (exeluding audio andé video recordings). .ar a. facsimile transmissian : of this
appralgal . -faport containing 8 copy or representation’ ‘Of, My -signature, the appralsal report ‘shall be as. effective, enforceable and
valid as if a paper. version of this’ appraisal repart . were delivered - containing my original. hand written signature.

25. Any intentional or negligent misreprasentation(s) contained in this appraisal report may tesult in civil liability and/or
criminal penalties (ocluding, but not limtted to, fine or imprisonment art both under the provisions of Title 18, United States
Code, Section 1001, et seq., or similar state laws.

SUPERVISORY APPRAISER'S CERTIFICATION: = The Supervisory Appraiser certilies and agraes that:

1. | directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
analyels, opinions, statements. conciusions, and the appraiser's cartification,

2. -U acvept full responsitility for the contents of this appraisal report Including, but Got -limited to, the appraiser's analysis, opinions,
sidivmenis, eunisiusanys, way iitts appraiser's emiification.

3° The appraiser Idonitified’ Ini this dppralsal- report Is-either ‘a “subs confractor’ or an annie -ot the supervisory appraiser (or the
appraisal firm), Is qualified to pettoym this. appraisal, ‘and. Is. equtptatle to. perform this “appraisal unr the applicable state. law.

4. This appralsal raport complies with the Unitorm staiiaaids: of Professtonal Appraisal Practice that wate adopted “and
promulgated by the Appralsal Standards Board of The Appraisal undaton and that were In place at the tima this appraisal
report was prepared.

5. if this appraisal report was transmitted as an “electronic record” containing my “electronic signature,” as those. terms are
defined in applicable faderal and/or state Jaws (excluding audio and video recordings), or a facsimile transmission of. this
appraisal repert containing a copy or representation of my signature, the appraisal report shall oe as effective, anforcaable and
valid as if a paper i of 6 somes repo we Ng delivered containing my original hand writtan signature.

 

  
 
 
 
  

APPRAISER SUPERVISORY APPRAISER (ONLY IF REQUIR ED)

 

 

 

 

 

Signature Signature — a
Name

Company Name AJ CompanyName _ = So
Company Address Company Address __ a
Telephone Number ee Telephone Number = = —
Email Address tsant77@gmail.cc com «Ema Address Ei tees,
Date of Signature and Report O7S2019 Date of Signature 2
Effective Data of Appraisal O7Ns2019 ss —~*s«SStabtnCnvtifivatlon
State Certification # =MA CRREA #75564 or State Licgnse#@ Th _
orStateLiconse# a State, eae
or Other (describe) State # _ Expiration Date of Certification of of Licarige
State MA 2 ee spe
Expiration Date of Certification or License 08/20/2020 SUBJECT PROPERTY
ADDRESS OF PROPERTY APPRAISED i] Did not inspect exterior of subject property

15 Pinecrast Dr {J Did inspect exterior ot subject property from street

Springfield, MAQ1118 a _ Date of inspactian
APPRAISED VALUE OF SUBJECT PROPERTY $ 208.000
LENDER/CLIENT COMPARABLE SALES
nme ee (7) Did not inspect exterior of comparable sales from street

ompany Name —_Luso Federal Credit Union (J Did inspect exterior of comparable sales trom street
Company Address $99 East Street, Ludlow, MA ee Date ot inspection

  

Email Address potalha@lu

 

 

 

Fraddie Mac Form 2055 March 2005 UAD Version 9/2011 Page 6 of 6 Fannie Mae Form 2055 March 2005

Form 2055UAD - “TOTAL” appraisal software by ala mode, inc. - 1-000-A) AMODE

€Z0/¥ LO'd O90# SZC 7:60 6107/90/80 GO09T0E:OL SAIPpedoyyo puejbuy men: WOHs
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 16 of 22
Sublect Photos

 

 

 

| Borrwyer Diane R. Wytryoh a a ae et
Property Addiess 415 Pinecrest Dr —_—
ily Springfield Cty, Hamdan Sule MA Optode Otte

 

 

 

 

Lendag bllent Lugo Federal Credit Union

  

Front Front

 

Front Street

 

Form PICINTS - "TOTAL" appraisal software by # la mode, inc. - 1-800-ALAMODE

€Z0/GLO'd O90# LEEV:60 6L0Z/90/80 GOO9POE:O1 S2IPedoyUo pue/Buy MeN: WOU
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 17 of 22

Comparable Photos 1-3

Borowey Diane R. Wytryeh
Property Addmeas 16 Pinecreet Dr a ee ee
Springfield _____bounly_Hampden_ Stale MA ZipCode 01118

fal Gradit Union

 

  
   

 

Comparabte 1
141 Pinecrest Or
Prox. to Subject 6.24 miles N

Sale Price 202,000
Gross Living Ama = 1,285
Total Rooms 5

Total Bedrooms 2

Total Bathrooms Ww
Location NiRes;
View N;Res;
Sie 10000 sf
Quality Qa

Age 65

Comparable 2
11 Denyfiald Ave
Prox. fo Subject 0.46 miles NW

Sole Price - 207,000

Gross Living Ama 1,334

Total Rooms 6

Total Bedrooms 3

Tots! Bathrooms = 1.0

Location NiRes:Cmr/Bsy
View NiRes:

Sia 80093 sf

Quality Q3

Aga 70

Comparable $

88 Intervale Rd

Prox, to Subject 0.39 miles NE
Sala Price 220,000
Gross Living Area 1,827
Tolal Rooms 6

Tatal Bedrooms 3

Total Bathrooms 20
Location NiRes;
View NiRes;
Site 14331 sf
Quality a3

Age 27

 

Form PICPIX.CR - "TOTAL" appraisal software by ala mode, inc. - 1-800-ALAMODE

€7Z0/910'd O90# 0€-97'60 6L0Z/90/80 6O090E:O.L S2IPedoyyoC puejbuz MeN: WOHs
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 18 of 22

[Borowr Diane R. Wytrych
Addmas 15 Pinecrest Dr

 
 
  

___Sprivgfeld
Luso Federal Gradit Union

Comparable Photos 1-3

___Counly_Hampden

 

Th Coda 01148

 

Comparabie 1

141 Pinecrest Or

Prox to Subject
Sale Price
Gross Living Area
Total Rooms
Totl Badrooms
1% BARIOORS
Location

View

Site

Quattty

Age

0,24 miles N
202,000
1,285

5

2

WW
NiRes;
N;Res;
10000 sf
a3

65

Comparable 2

11 Darryfleld Ave

Prox. bo Subject
Sale Prica

Gross Living Ara
Total Rooms
Total Bedrooms
Total Bathrooms
Location

View

Site

Quaity

Age

0,46 milas NW

. 207,000

1,331

6

3

10

Ni Res:Cmr/Bsy
N;Res:

8093 sf

aa

70

Comparable 2

88 Intervale Rd
Prox, to Subject
Sale Prica

Gross Living Area
Total Rooms
Talal Bedrooms
Total Bathrooms
Loralion

View

Ske

Quality

Age

Form PIGPIX.CR - "TOTAL" appraisal sotiware by aia mode, Inc. - 1-800-ALAMODE

0.39 miles NE
220,000
1,827

6

3

20
N.Res;
N;Res;
14331 sf
Q3

27

€Z0/910'd O90# 8E-7G:60 6107/90/80 GO09POE:OL S9!IPedoyugC puejbuy men: WwOHs
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 19 of 22

Location Map

 

[Borrower Dlane R. Wytryeh
Propaity Addimes 15 Pinacrest Dr

 

 

County Hampden Stal MA Sptode o1418

Luso Federal Credit Union

 

 

    

COMPARABLE No. 2

“i 11 Darryfield Ave
Spri «AA O11 18
‘0,46 miles NW:

  

 

t SU aap Avy
i i %
¥ se
i * *

 

   

: Sean 4
eS / t A a ,
ao PY eh
Vig So pi doe
Le! Pome ~~
{ i eo
i i i 2 ; 4 : q \
1 i : =: 4 TsonentN ‘ %

Form MAP.LOC - "TO TAL® anpralsal software by ala mode, in. - 1-800-ALAMODE

€Z0/L10'd O90# 9S'7S:60 6102/90/80 GOO9P0E:OLL S9!IPedoyNoO puejbuy meN:WOHA
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 20 of 22

Assessors Map (GIS)

 

 

 

 

 

 

Form SCNEGL - "TOTAL® appraisal software by 3 la mode, inc. - 1-800-ALAMODE

€Z0/810'd 090# St'GS'60 6107/90/80 GO09P0E:OL S9!IPedoyyo pue|buyZ MeN: WOH
Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 21 of 22

Aerial Map
Borrower Diane R. Wytrych poe NS ee
Property Address 16 Pinecrest Dr

[Gly Springfiels County Hampden Site MA Up Code 01118
|LendeyCient Luo Federal Credit Union

 

 

 

 

ala rode, inc! §

Teves rer purer

 

__ Pin tr
Springfield, MA01t18.,

 

Form MAP,LOG - "TOTAL" appraisal software by a Ja mods, inc, - 1-800-ALAMDDE

€Z0/61L0'd O90# SZ-LS:60 6107/90/80 GO09P0E:OL So!pedoyyo pue/buq men: WOuS
he pee en pa ae sg pte ome Hp il rp phe pe ht pe

Case 3:19-cr-30027-MGM Document17-1 Filed 08/08/19 Page 22 of 22
FROM:New England Orthopedics TO:3046009 08/07/2019 08:03:50 #073 P.012/013

 

 

HPeoplesBank | sss
: Infogbankatpeoples.com
bankatpecpiss.com
330 Whitney Avenue, Holyoke, MA01040 Member -irrc.tins
RETURN SERVICE REQUESTED [DIF @
DOOL4S
ecdantbaeeafag ty) et yoga QUAD] Up feds os ABE GAAP
DIANE R WYTRYCH
15 PINECREST DR
SPRINGFIELD MA 01118-1758

(ARE SL A a

     

‘Outstanding Principal

58,097.26

Escrow Balance -133.53

Interest Rate §.875%
(until Jan 0+, 2033)

Prepayment Penalty No

 

 

 

Past Payments Breakdown

    

234.98 1,992.80

Principal

Interest 285.58 1,730.56
Escrow (Taxes & Insurance) 350.74 2,076.00
Fees 0.00 0.00
Charges 0.00 0.00
Partial Payment (Unapplied) 0.00 0.00
Total 871.30 5,199.36

 

 

 

Contact 413.538.9500 * 877.888.1388 * Servicing@bankatpeoplas.com

 

Loan Payment Notice Pg 1 of 3
Statement Date: Jul 19, 2040
Mortgage Statement

Property Description:

15 Pinécrest Dr Springfield, MA 01116

 

Pa mant Information

 

Account Number: 1053647253
Payment Due Date: Aug 04, 2049
Amount Due: $871.30

If payment received after Aug 16, 2019, $15.62
late fee will be charged

 

 

 

  

Explanation of Amount Bis
DRSCAp On: Save f DIANE,
Principal 296.13
Interest 284.43
Escrow (Taxes & Insurance) 350.74
Regular Monthly Payment 871.30
Total Fees and Charges 0.00
“Overdue Payment 0.00
Total Amount Due 871,30

 

 

 

 

   

iy
“tine

ene my ae
SERS iy

 

Questions About

   

O

 
 
 
 

 

O1ZUKB_BK_COGG_MO01

DPLT.D.S.200PRO008.76477050.78125_ 101 POOSASA BT
